Case 2:11-cr-20551-RHC-MKM ECF No. 109, PageID.304 Filed 03/12/12 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                  Case No. 11-20551

VERNON MASON IV, et al.,

             Defendants.
                                           /

          ORDER REGARDING EVIDENTIARY HEARING ON DEFENDANT
           BRANDON JOHNSON’S MOTION TO SUPPRESS EVIDENCE

      On December 30, 2011, Defendant Brandon Johnson filed a “Motion to Suppress

Evidence and Request for Evidentiary Hearing.”1 After being granted numerous

extensions by the court and Defendants’ counsel, the Government filed a response on

March 8, 2012. An evidentiary hearing is scheduled for April 5, 2012 at 9:30 a.m., and

the parties should be prepared to present any witnesses they deem necessary to

adjudication of the motion at that time. Because Defendant’s motion was pending for

over two months before the Government filed its response, barring only the most

exceptional and unforeseen circumstances, the court will not reschedule or adjourn the

evidentiary hearing.


                                         s/Robert H. Cleland
                                        ROBERT H. CLELAND
                                        UNITED STATES DISTRICT JUDGE

Dated: March 12, 2012


      1
        Defendants Vernon Mason IV, Elizabeth Barker, Cortez Harris, Tico Mason,
Kacee Porter, and Delanoy Mason have filed concurrences in Defendant Johnson’s
motion.
Case 2:11-cr-20551-RHC-MKM ECF No. 109, PageID.305 Filed 03/12/12 Page 2 of 2




I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, March 12, 2012, by electronic and/or ordinary mail.

                                                                      s/Lisa Wagner
                                                                     Case Manager and Deputy Clerk
                                                                     (313) 234-5522




S:\Cleland\JUDGE'S DESK\C1 ORDERS\11-20551.MASON.Order.Re.Supression.Hr'g.jrc.wpd


                                                                          2
